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                                                                                  MAY 2 4 2019
                         IN THE UNITED STATES DISTRICT COURT
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                            FOR THE DISTRICT OF MARYLAND                        CLEW U.S. ['WNW Q7.1.4i1T
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 IN THE MATTER O' THE
 APPLICATION OF THE UNITED                          Case Na.     19-152211S
 STATES OF AMERICA FOR DNA.
 SAMPLES FROM MARQUIS VON
 CLEMONS


                    AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR
                        A SEARCH WARRANT FOR DNA SAMPLES

            Calista L. Walker, a Special Agent with the Federal Bureau of Investigation (FBI), being

duly sworn, &pose and state as follows:

                                         INTRODUCTION

       I.        This affidavit is being submitted in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a warrant to search the person of MARQUIS VON

CLEMONS (photograph provided in Attachment A) in order to obtain deoxyribonucleic acid

("DNA") for comparison purposes in the form of hair lock samples.

                 I am an investigative or law enforcement officer within the meaning of Title 18,

United States Code, Section 2510(7), that is, I am a Special Agent with the FI31 empowered by

law to conduct investigations of, and to make arrests for, offenses enumerated in 18 U.S.C. § 2516.

                 1 have been a Special Agent with the Federal Bureau of Investigation since 2010. I

am currently investigating violations of federal law concerning violent crimes and am assigned to

the FBI Cross Border Task Force (CBTF) that focuses on federal violent incident crimes on the

border of Maryland and Washington. District of Columbia (D.C.). I have gained experience

through classes, on the job training, and daily work in regards to conducting these types of

investigations. In the course of my employment with the FBI, I have participated in investigations

involving violent incident crimes, bank robbery, firearms offenses, fugitives, cold case homicides,
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carjacking, Hobbs Act violations, armored car robbery and strong arm robbery, and armed robbery

of citizens   and commercial institutions. In the course of conducting these investigations, 1 have

been involved in the use of various investigative techniques, including the fellowing: interviewing

victims, subjects, informants, and witnesses; conducting physical and electronic surveillance; and

preparing and executing search and arrest warrants.

                 Because this Affidavit is being submitted for the limited purpose of cstablishing

probable cause for the issuance of a search and seizure warrant, T have not included every detail of

every aspect of the investigation. Rather, I have set forth only those facts that 1 bel C at

necessary to establish probable cause. I have not, however, excluded any information known to

me that would defeat a determination of probable cause. The information contained in this

Affidavit is based upon my personal knowledge, my review of documents and other evidence, and

my conversations with other law enforcement officers and other individuals. All conversations

and statements described in this Affidavit are. related in substance and in part unless otherwise

indicated.

                 I respectfully submit that probable cause exists to believe that MARQUIS VON

CLEMONS has conducted violations of 18 U.S.C. § 2113 (bank robbery and attempted bank

robbery) and, further, that the search aCLEM.ONS and seizure of samples of his DNA will result

in evidence thereof

                                       PROBABLE CAUSE

I.     February 13, 2019, Bank Robbery

                 On February 13, 2019, at approximately 9:08 a.m., lice from the Prince

George's County (Maryland) Police Department ("PGPD") responded to a reported bank robbery

at a SunTrust Bank branch located in blyattsville, Maryland. Upon arrival, officers made contact
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with Victim I (the bank teller) who stated that an unknown masked and gloved man walked into

the bank and approached the teller counter. The man passed a note to the teller stating, "1 have a

aun, do not say anything." Fearing for her safety, Victim I complied with the man's demands and

gave the man approximately $5,080 from her teller drawer. The perpetrator took the money, kept

the note, and successfully fled the scene on foot. As detailed herein, there is probable cause to

believe that the man ("Suspect I") who perpetrated this offense was, in fact. CLEMONS.

               Suspect 1 was described by Victim I as male, approximately 30-39 years of age,

approximately 5'5", heavy set, possibly Hispanic, wearing a white sweatshirt, black ski mask,

yellow/black gloves, blue jeans, and red/black shoes. Additional witnesses at the bark provided

consistent descriptions, but described Suspect .1 as possibly African-American. Bank video

surveillance was recovered and showed that, while inside the SunTrust, Suspect I wore a large

white sweatshirt, blue jeans, a black mask, black and yellow gloves, and distinctive red and black

shoes.

               Law enforcement officers reviewed the video surveillance from the bank And its

neighboring businesses. From review of this footage, law enforcement determined that Suspect I

fled behind the bank, and removed and discarded his sweatshirt while fleeing. Underneath the

sweatthirt. Suspect 1 is observed wearing a dark. jacket. This initial surveillance footage has an

adjusted time stamp of approximately 9:01 atn.1 Surveillance footage from a neighboring

supermarket located about two blocks from the SunTrust, which has a timestamp of approximately

9:05 a.m., reflects a man of the same general build as Suspect 1 wearing a dark jacket and a black

and white winter hat. Suspect l's face is unmasked in this surveillance video and appears to show



  The video itself reflects a timestamp of approximately 8:31 a.m. However, when the video
footage was collected the collecting officer noted that the time on the surveillance system was
approximately 30 minutes slower than the true time.


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a man with facial hair, as well as the same distinctive red and black shoes that Suspect I was seen

wearing in the bank surveillance video.

                 Along the path of Suspect: I 's apparent escape from the SunTrust branch ,

enforcement officers recovered, among other items, a while sweatshirt, a black ski mask, and a

pair of yellow/black gloves that matched those worn by Suspect 1 in the bank surveillance video.

        February 19, 2019, Bank Robbery

                 On February 19, 2019, at approximately 9:33 a.m., PGRD officers responded to a

hold up alarm at the same SunTrust Bank branch that had been obbed on February 13, 2019--

located in Hyattsville. Maryland. Upon arrival, officers encountered Victim 2 (the hank's security

officer), who was detaining a suspect later identified as CLEMONS. Law enforcement placed

CLEMONS into police custody. Victim 2 told the officers that CLEMONS entered the bank

wearing a ski mask and gloves and carrying a piece of paper. Victim 2 identified himself as a

security guard and gave CLEM.ONS multiple commands to remove his mask, but CLEMONS

did not comply. CLEMONS began to reach into his pockets and Victim 2 believed that

CLEMONS was about to rob the bank. Victim 2 then successfully detained CLEMONS until

law enforcement arrived. Law enforcement retrieved the piece of paper CLEMONS was holding,

which read 11 have a Gun Give me one hundred Dollar Bill and Firtchers (sic).' Pursuant to his

arrest, when questioned for his personal identifiers, CLEMONS gave a fake name and Social

Security number. Law enforcement subsequently used CLEMONS' fingerprints to confirm his

true identity.

                 Following CLEMONS' arrest, law enforcement determined that Victim l's

description of Suspect 1 was consistent. with CLEMONS. In addition, CLEMONS had facial




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hair consistent with that observed in the February 13, 2019, surveillance footage from . the

supermarket.

                Maryland Motor Vehicles Administration records reflect that on May 28, 2014,

CLEMONS used a specific address in Hyattsville. Maryland,2 to obtain a non-driving photo

identification card (hereinafter "CLEMONS' residence"). CLEMONS also claimed this same

address when arrested previously in connection with other incidents, listed this address upon his

release from the Department of Corrections, and it was confirmed as CLEMONS' residence

during 6 probation check perfonned on February 11 , 2019.

                PQM) subsequently obtained a search warrant for CLEMONS' residence, which

was executed on February 19,2019, at 8:02 p.m. At this address, in the portion of the house where

CLEMONS resided, law enforcement found a pair of distinctive red and black Shoes that matched

those worn by Suspect 1 on February 13, 2019, as visible on the bank's surveillance footage and

the surveillance footage of the stores in the strip mall and the neighboring supermarket. Law

enforcement also found .a black and white winter hat under which was an identification card

bearing CLEMONS' name. The black and white winter hat matched what Suspect 1 was observed

wearing on the surveillance footage of the neighboring supermarket.

             , Law enforcement took this black and white winter hat and the distinctive red and

black shoes into custody. These items, along with the white sweatshirt, black ski mask, and pair

of yellow/black gloves recovered from the crime scene on February, 13, 2019, were sent to the

FBI laboratory in Quamico. Virginia for DNA processing.

                A DNA search warrant was obtained by PGPD on February 21, 2019, to obtain 2

buccal swabs of saliva from CLEMONS for a comparison with the items sent to the laboratory in



2   The specific address is omitted to protect CLEMONS' privacy.

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                                                                                             at
Quantico. The samples were taken on February 22, 2019 at approximately 11:13 a.m. and cent to

the FBI laboratory for DNA processing.

                While processing the items sent to the Quantico laboratory, w enforcement was

able to acquire trace hair evidencefrom he clothing recovered from the crime             OE February

13, 2019. in order to analyze this trace hair evidence, hair samples are required from CLEMONS.

               Obtaining such samples will require acquiring combed and pulled head and facial

hair samples from all pads of CLEMONS' head and face. The samples will then be sent to

Quantico for comparison.

        IS.    CLEMONS has been in the custody of Prince George'sCounty Depaitment of

Corrections since.his arrest on February 19, 2019. CLEMONS' Maryland State If) is

and his date of birth is a

                                          CONCLUSION

       19.     13ased on the fore          1 request that. the Court          a warrant null     z

members of the 11.31, or their authorized representatives, including bin not limited to other law

enforcement agents assisting in the abovedescribed investigation, to obtain hair look samples from

MARQUIS VON CLEMONS, so that these samples may he compared to evidence collected

during the course of this investigation, to include but not limited to, the items discarded by Suspect

1 during the course of the bank robbery on February 13, 2019, as described above.
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                                     Respectfully submitted,




                                     Calista L. Walker, Special Agent
                                     Federal Bureau of Investigation



Signed and sworn to before me this        day of April 2019.



            Mmer-rAtiree.=
The Honorable Timothy). Sullivan
UNITED STATES MAGISTRATE JUDGE




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